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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
     Plaintiff,                                       1:19-CR-00018 (ABJ)

V.

ROGER JASON STONE, JR.,
    Defendants.                                       FEBRUARY 20, 2020


                             NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that NORMAN A. PATTIS hereby enters his appearance

as permanent counsel of record on behalf of proposed Intervenor MICHAEL

CERNOVICH and requests that all pleadings, motions, notices, correspondence, orders,

and other filing regarding this case and Mr. Cernovich's motion to intervene be served on

Norman A. Pattis at the below address.

                                                Respectfully submitted.

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                              CERTIFICATE OF SERVICE
        hereby certify that on the date above a copy of the foregoing Notice of

Appearance was filed by mailing a copy to the Clerk's office and served by certified mail

on the following counsel of record:

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                                             /s/ Norman A. Pattis /s/
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